       Case 1:06-cv-00738-WFD-LFG Document 89 Filed 02/12/08 Page 1 of 16




                        United States District Court
                          For The District of New Mexico

CECILIA TELLEZ SOTO,                          )
                                              )
        Plaintiff(s),                         )
                                              )
vs.                                           )         Case No. CIV-06-738-WFD
                                              )
RUBEN GALVAN,                                 )
                                              )
        Defendant(s).                         )


       Order Granting Intervenor’s Motion for Summary Judgment and Denying
      Plaintiff’s Motion for Partial Summary Judgment, and Denying Defendant’s
                                12(b)(6) Motion to Dismiss


        This matter comes before the Court on Intervenor’s Motion for Summary

Judgment, Plaintiff’s Motion for Partial Summary Judgment, and Defendant’s 12(b)(6)

Motion to Dismiss for failure to state a claim for which relief can be granted. The Court,

having considered the materials submitted in support and opposition thereto, having

heard oral argument, and being otherwise fully advised, FINDS and ORDERS as

follows:

        Plaintiff Cecilia Tellez Soto brings claims against Defendant Ruben Galvan for

civil rights violations under 42 U.S.C. § 1983 and state claims for battery, false

imprisonment, and intentional infliction of emotional distress (“IIED”). At the time of the

incident giving rise to these allegations, Defendant Galvan was a duly elected
     Case 1:06-cv-00738-WFD-LFG Document 89 Filed 02/12/08 Page 2 of 16




Magistrate Court Judge for the Dona Ana County, New Mexico. Intervenor Risk

Management Division of the State of New Mexico (“RMD”) requests that the Court enter

a declaratory judgment that RMD has no duty to defend and indemnify Defendant

because he was not acting within the scope of duty as a Magistrate Judge at any time

material to Plaintiff’s claims. Plaintiff moves this Court to grant partial summary

judgment on the issue of whether Defendant was acting under color law as required by

42 U.S.C. § 1983. Defendant moves the Court to dismiss the state claims because he

alleges that the New Mexico Tort Claims Act (TCA) does not waive immunity for the

state claims brought by Plaintiff. For the reasons contained herein, the Court grants

RMD’s Motion for Summary Judgment and denies Plaintiff’s Motion for Partial Summary

Judgment, and Defendant’s Converted Motion to Dismiss.

                                           Facts

       On August 25, 2004, Plaintiff was celebrating her 21st birthday at a bar called

Hurricane Alley. Defendant was also at the same bar having drinks with a friend.

Defendant noticed Plaintiff and her friend sitting at the bar and approached them to

introduce himself and socialize. When Defendant approached Plaintiff, she recognized

Defendant as the Magistrate Judge who presided over her proxy marriage. Plaintiff

then informed Defendant that not only had she come before him in magistrate court, but

she was also a witness in a domestic violence case against her husband in Defendant’s




                                            -2-
     Case 1:06-cv-00738-WFD-LFG Document 89 Filed 02/12/08 Page 3 of 16




court.1 At some point, Defendant put his hands over his ears and indicated that he

could not hear any more information. For approximately thirty minutes, Plaintiff asked

and Defendant answered numerous questions about magistrate court procedure.

Plaintiff and Defendant then exited the bar together with the mutual understanding that

they would have sex later that evening. Ultimately, the parties had sex in Defendant’s

vehicle. The parties dispute whether the sex was consensual, and Plaintiff brought

multiple criminal claims against Defendant. On two occasions, Defendant was charged

and prosecuted on various counts of criminal conduct, including criminal sexual

penetration, demanding or receiving a bribe by a public employee, battery and Ethical

Principles of Public Service Act violations. Each trial resulted in a hung jury and

Defendant has not been convicted of any crime.

                                    Standard of Review

       On a 12(b)(6) motion to dismiss for failure to state a claim, the Court must

construe all well-pleaded factual allegations in the light most favorable to the non-

moving party. Moore v. Guthrie, 438 F.3d 1036, 1039 (10th Cir. 2006). The federal

district court may dismiss a cause of action under rule 12(b)(6) when it “appears to a

certainty that the plaintiff is entitled to no relief under any state of facts which could be

proved in support of the claim.” Id. (Quoting Gas-A-Car, Inc. v. Am. Petrofina, Inc., 484

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        As it turns out, Plaintiff was incorrect when she informed Defendant that he was
presiding over her husband domestic abuse case. Her husband’s case had been
assigned to another magistrate judge.

                                              -3-
     Case 1:06-cv-00738-WFD-LFG Document 89 Filed 02/12/08 Page 4 of 16




F.2d 1102, 1107 (10th Cir. 1973)). Judgment on the pleadings should not be granted

unless the moving party has demonstrated that no question of material fact remains to

be resolved and the party is entitled to judgment as a matter of law. Park Univ. Enters.

v. Am. Cas. Co., 442 F.3d 1239, 1244 (10th Cir. 2006).

       Summary judgment, however, is appropriate “if the pleadings, depositions,

answers to the interrogatories, and admissions on file, together with the affidavits, if

any, show that there is no genuine issue as to any material fact and that the moving

party is entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(c); Union Tel. Co.

v. Qwest Corp., 495 F.3d 1187, 1192 (10th Cir. 2007) (Summary judgment is only

appropriate when no question of material fact exists and the moving party is entitled to

judgment as a matter of law.) When applying this standard, the Court will view the

evidence and make all reasonable inferences in the light most favorable to the non-

moving party. Darr v. Town of Telluride, 495 F.3d 1243, 1250-51 (10th Cir. 2007). A

motion to dismiss should be converted into motion for summary judgment when a party

submits, and the court considers, materials outside of the pleadings. Alvarado v. KOB-

TV, L.L.C., 493 F.3d 1210, 1215 (10th Cir. 2007). The district court commits reversible

error when it fails to convert a 12(b)(6) motion to one for summary judgment if it fails to

exclude outside materials unless the dismissal can be justified without considering the

outside materials. Id. at 1216 (citing GFF Corp. v. Associated Wholesale Grocers. 130

F.3d 1381, 1384 (10th Cir. 1997).


                                             -4-
     Case 1:06-cv-00738-WFD-LFG Document 89 Filed 02/12/08 Page 5 of 16




       The Court’s resolution of RMD’s Motion for Summary Judgment requires the

dismissal of Defendant’s Motion to Dismiss. The Court considered matters outside the

pleadings when adjudicating the Motion for Summary Judgment that contained an

identical issue raised in Defendant’s Motion to Dismiss–whether Defendant acted in his

“scope of duty.” As a result, Defendant’s Motion to Dismiss is converted into a Motion

for Summary Judgment.

       I.     RMD’s Motion for Summary Judgment on its Complaint for Declaratory
              Judgment

       RMD is an agency of the State of New Mexico and responsible for administering

the Public Liability Fund ("PLF") in accordance with the TCA. RMD's authority to

expend funds from the PLF is limited by N.M.Stat. §§ 41-4-20 and 41-4-23(B) (1978).

RMD intervened in this matter to seek a declaratory judgment challenging Defendant's

demand for defense and indemnification from RMD. RMD argues that Plaintiff's

Complaint failed to allege that Defendant acted within the scope of his duties, and even

if Plaintiff's allegations are true, Defendant was not acting within the scope of his duties.

       The TCA provides immunity from tort liability to government employees working

within the scope of duty:

              A governmental entity and any public employee while acting
              within the scope of duty are granted immunity from liability
              for any tort except as waived by the New Mexico Religious
              Freedom Restoration Act and by Sections 41-4-5 through
              41-4-12 NMSA 1978. Waiver of this immunity shall be limited
              to and governed by the provisions of Sections 41-4-13 through


                                             -5-
     Case 1:06-cv-00738-WFD-LFG Document 89 Filed 02/12/08 Page 6 of 16




              41-4-25 NMSA 1978, but the waiver of immunity provided in
              those sections does not waive immunity granted pursuant to
              the Governmental Immunity Act.


N.M. Stat. § 41-4-4 (1978) (emphasis added). The TCA also provides that the State of

New Mexico shall provide a defense for any public employee when liability is sought for

any tort so long as the employee acted within the scope of duty. § 41-4-4(b). The State

is required to pay any final settlement or judgment entered against a public employee

acting within the scope of duty. § 41-4-4(c). The RMD is authorized to expend funds

from the PLF “to defend, save harmless and indemnify any state agency or employee of

a state agency or a local public body or an employee of such local public body for any

claim or liability covered by a valid and current certificate of coverage to the limits of

such certificate of coverage . . . .” § 41-4-20(B)(3). The Certificate of Coverage in the

present case creates a duty to defend against liabilities and waivers expressly contained

in § 41-4-4 through 41-4-12 of the TCA. (State of New Mexico Liability Certificate of

Coverage, Ex. 1, at 1.) But the Certificate only applies to Governmental entities acting

within the scope of their duties. (Certificate of Coverage, at 1.) Accordingly, the

resolution of RMD’s Motion for Summary Judgment turns entirely on the definition and

interpretation of “scope of duty.”

       The TCA defines scope of duty to mean “performing any duties that a public

employee is requested, required or authorized to perform by the governmental entity,



                                             -6-
     Case 1:06-cv-00738-WFD-LFG Document 89 Filed 02/12/08 Page 7 of 16




regardless of the time and place of performance . . . .” § 41-4-3(G) (emphasis added).

As an initial matter, the plain language of the statute prohibits the Court from

considering the fact that the events in question took place in a bar. Further, New

Mexico law interprets scope of duty extremely broadly. But the facts before the Court,

even when interpreted in favor of Defendant as required by the standard of review,

stretch a plausible reading of the TCA beyond the limits set by New Mexico Courts.

       In RMD v. McBrayer, the Court of Appeals of New Mexico reversed and

remanded a district court's summary judgment order in favor of the Risk Management

Division. The appellate court interpreted "scope of duty" broadly to include criminal

acts. RMD v. McBrayer, 14 P.3d 43, 48 (N.M. Ct. App. 2000). There, a teaching

assistant at New Mexico State University violently sexually assaulted and tortured his

student after luring her back to his apartment under the pretenses of handing her an

assignment. The court ruled that "the scope of duty centers on what NMSU requested,

required or authorized as it related either generally or specifically to [the professor's]

duty as an instructor to help a student obtain her homework assignments." Id. at 49.

The court found that a reasonable finder of fact could find that the professor used an

authorized duty as a subterfuge to accomplish the assault. Id. Similarly, in Celaya v.

Hall, the New Mexico Supreme Court interpreted the term "scope of duty" broadly: "the

TCA clearly contemplates including employees who abuse their officially authorized

duties, even to the extent of some tortious and criminal activity." 85 P.3d 239, 245


                                             -7-
     Case 1:06-cv-00738-WFD-LFG Document 89 Filed 02/12/08 Page 8 of 16




(N.M. 2004); see e.g., Seeds v. Lucero, 113 P.3d 859, 862-63 (N.M. Ct. App. 2005)

(maliciously abusing authorized duties did not remove the alleged acts from the

defendants’ scope of duty). The court also held the defendant must demonstrate a

connection between the public employee's actions at the time of the incident and the

duties the public employee was requested, required or authorized to perform. Id.

Celaya, 85. P3d at 245. In Celaya, a volunteer chaplain for a county sheriff's

department, drove over a store employee's foot in the store parking lot while driving a

county vehicle. Though evidence was presented to show that the defendant was not

authorized to conduct personal business in a county vehicle, Defendant created a

question of fact regarding the nexus between his acts and duties. Id. at 246. Further,

the court found that "whether an employee is acting within the scope of duties is a

question of fact, and summary judgment is not appropriate unless "only one reasonable

conclusion can be drawn from the facts presented." Id. at 245.

       The Court construes New Mexico case law to provide the following standard that

the Court will apply to the present facts: a government employee acts within his scope

of duties if the employee demonstrates a connection between the acts in question at the

time of the incident and duties that the employee is requested, required, or authorized to

perform regardless of tortious or criminal intent.

       Here, the facts demonstrate that Defendant approached Plaintiff and her friend

without any knowledge or recognition that they had both appeared before him in his


                                             -8-
     Case 1:06-cv-00738-WFD-LFG Document 89 Filed 02/12/08 Page 9 of 16




capacity as Magistrate Judge. Plaintiff then informed Defendant that he presided over

her proxy marriage, and then erroneously stated that she and her husband would

appear before Defendant in a criminal domestic violence case. Plaintiff then asked

Defendant numerous questions about the workings of magistrate court proceedings.

Though demonstrating an initial reluctance to discuss the matter, Defendant then spent

approximately thirty to forty five minutes talking about various aspects of magistrate

court. At some point during the conversation, the talk turned to Defendant’s Porsche,

and then both parties left the bar together. After leaving the bar, the parties had sex in

Defendant’s vehicle and provided the basis for Plaintiff’s numerous criminal allegations.

       The Court notes that the record does not entirely eliminate all questions of fact.

In fact, the Court will likely never know exactly what happened at the Hurricane Alley or

in Defendant’s Porsche. Specifically, Plaintiff alleges that once Defendant became

aware that her husband was incarcerated and would appear before the magistrate

court, he requested sexual favors in exchange for lenient treatment for Plaintiff’s

husband. But Defendant believed that the events in the bar were nothing more than a

consensually flirtatious conversation with a young woman. In essence, Defendant used

his knowledge and understanding of the magistrate court as a “pick-up line” but did not

barter sex with Plaintiff for lenient treatment of husband. Under any circumstance,

however, no reasonable trier of fact could find that Plaintiff’s allegations of battery, false

imprisonment and IIED were connected to actions by Defendant that were requested,


                                             -9-
    Case 1:06-cv-00738-WFD-LFG Document 89 Filed 02/12/08 Page 10 of 16




required, and authorized by law.

       RMD’s Motion for Summary Judgment argues convincingly that there was no

connection between Defendant’s actions leading to the incidents in question–battery,

false imprisonment, and IIED–and a duty that Defendant was requested, required, or

authorized to perform. Construing all inferences in favor of Defendant, the Court

acknowledges that Defendant’s discussion of magistrate court proceedings could fall

within a zone of authorized behavior. The New Mexico Code of Judicial Conduct allows

for magistrate judges to “explain[] for public information the procedures of the court.”

N.M.R.A. Rule 21-300(B)(10). Thus, the discussion regarding the magistrate court

proceedings–initiated by Plaintiff–appears to be authorized by law. If Defendant did

attempt to offer Plaintiff’s husband lenient treatment in exchange for sexual favors, such

actions would not be within scope of duty because they are prohibited by law: “A judge

shall not, with respect to cases, controversies or issues that are likely to come before

the court, make pledges, promises or commitments that are inconsistent with the

impartial performance of the adjudicative duties of the office.” N.M.R.A. § 21-

300(B)(11). The Court finds that there was no connection between the authorized act of

describing the magistrate court proceedings and the battery, false imprisonment, and

IIED under any circumstances presented by the parties.

       The Court is not aware of a New Mexico case where the defendant’s actions fall

outside the scope of duty. But the Court’s decision in the present case is consistent with


                                            -10-
     Case 1:06-cv-00738-WFD-LFG Document 89 Filed 02/12/08 Page 11 of 16




New Mexico law because there is simply no connection between Defendant’s

authorized actions and the resulting civil allegations. Indeed, the New Mexico courts

that have addressed the issue have been presented with factual circumstances that

demonstrate an incidental and logical connection between the authorized duties and the

resulting injury to the plaintiff that at least creates a question of fact to survive dismissal

or summary judgment. In McBrayer, the court found that the defendant used his

authorized duty of handing out homework to students as a subterfuge to lure the plaintiff

into his apartment and assault her McBrayer, 129 N.M. at 49. In Celaya, the court

found that the defendant raised a question of material fact to survive summary judgment

when he ran over a store employee’s foot in a county vehicle. The defendant was

authorized to drive a county vehicle to and from work, but minor deviations from his

route did not take the defendant out of his scope of duty. Celaya, 85 P.3d at 245. See

Derringer v. State of New Mexico, 68 P.3d 961, 965 (N.M. Ct. App. 2003) (“[F]ailing to

perform a regular duty, such as timely responding to requests for records, still falls

within the scope of duties as defined in McBrayer.”) Henning v. Rounds, 171 P.3d 317,

322 (N.M. Ct. App. 2007) (malicious use of procedures ostensibly based on state

regulations to force plaintiff from her job still within scope of duty regardless of motive);

Seeds, 113 P.3d at 862 (defendant’s use of authorized duties of enforcing city

ordinances still within scope of duty when defendant’s used same authority to conduct

malicious conduct against the plaintiff). In all cases in which the courts found that the


                                             -11-
    Case 1:06-cv-00738-WFD-LFG Document 89 Filed 02/12/08 Page 12 of 16




actions fell within the TCA, the injuries alleged by the plaintiffs were directly caused by

an authorized use of that duty.

       Here, the Court finds no connection between Defendant’s authorized acts and

the civil claims alleged by Plaintiff. Neither Plaintiff nor Defendant has demonstrated a

connection between Defendant’s discussion of the magistrate court proceedings and

the resulting alleged misconduct. Unlike the cases cited above where defendants

performed authorized acts that directly affected the plaintiffs’ rights, here the Court can

not discern a scenario in the present case where the exercise of a magistrate court

judge’s responsibility of explaining court procedures could lead to the alleged conduct.

The only connection between defendant’s conduct and Plaintiff’s allegations is temporal:

shortly after describing the function of the magistrate court, the parties had sex, whether

consensual or not.

       Plaintiff’s subjective belief that Defendant could provide a lenient sentence in

exchange for sexual favors, even if demonstrated unequivocally by the facts, is not a

controlling factor for the Court to consider. Judge Galvan did not have the actual or

implied authority to affect Plaintiff’s husband case. Plaintiff’s husband’s case was

assigned to another magistrate judge. And to the extent that Defendant did propose an

improper sexual relationship with Plaintiff in exchange for a lenient sentence for her

husband, such actions would surely be outside the scope of duty. Thus, no matter what

actually occurred at the Hurricane Alley, there is not a sufficient connection between


                                            -12-
     Case 1:06-cv-00738-WFD-LFG Document 89 Filed 02/12/08 Page 13 of 16




Defendant’s authorized duties and the conduct Plaintiff alleges. Accordingly, RMD’s

Motion for Summary Judgment is granted.

       II.    Defendant’s Motion to Dismiss

       Defendant moves for this Court to dismiss the state claims alleged by Plaintiff.

The Court considered materials outside the pleadings to rule on this Motion, so the

Court converts the 12(b)(6) motion into a motion for summary judgment. The TCA

entitles governmental entities immunity from liability unless the act specifically waived

the immunity or the government employee does not act within the scope of duty: “A

governmental entity and any public employee, while acting in the scope of duty, are

granted immunity from liability for any tort except as waived by . . . sections 41-4-5

through 41-4-12 NMSA 1978.” N.M. Stat. § 41-4-4 (1978). Because the Court finds

that Defendant did not act within the scope of his duties, Defendant is not entitled to

immunity under the TCA. Defendant’s Converted Motion is denied.

       III.   Plaintiff’s Motion for Partial Summary Judgment

       Plaintiff moves this Court to rule that Defendant acted “under color of state law”

and therefore find that the jurisdictional requisite of a § 1983 suit is satisfied. Neither

RMD or Defendant responded to Plaintiff’s Motion for Partial Summary Judgment.

Local Rule 7.1(b) provides that “[t]he failure of a party to file and serve a response in

opposition to a motion within the time prescribed for doing so constitutes consent to

grant the motion.” D.N.M.LR-Civ. 7.1(b). At oral argument, Plaintiff moved the Court to


                                             -13-
     Case 1:06-cv-00738-WFD-LFG Document 89 Filed 02/12/08 Page 14 of 16




grant her Motion for Partial Summary Judgment based on the parties’ failure to respond.

Tenth Circuit case law plainly prohibits this Court from granting summary judgment

based solely on the parties failure to respond to Plaintiff’s Motion: “a party's failure to file

a response to a summary judgment motion is not, by itself, a sufficient basis on which to

enter judgment against the party. The district court must make the additional

determination that judgment for the moving party is “appropriate” under Rule 56.” Reed

v. Bennett, 312 F.3d 1190, 1195 (10th Cir. 2002). Because Defendant and RMD failed

to respond to Plaintiff’s Motion, they are precluded from challenging the facts asserted

and supported in the summary judgment motion. Id. Relying on the now uncontested

facts in Plaintiff’s Motion for Partial Summary Judgment, the Court finds that summary

judgment is not appropriate.

       The only proper defendants in a § 1983 claim are those who represent the state

in some capacity, whether they act in accordance with their authority or not. E.F.W. v.

St. Stephen's Indian High School, 264 F.3d 1297, 1305 (10th Cir. 2001). "The

traditional definition of acting under color of state law requires that the defendant in a §

1983 action have exercised power possessed by virtue of state law and made possible

only because the wrongdoer is clothed with the authority of state law." Id. (Citing David

v. City & County of Denver, 101 F.3d 1344, 1353 (10th Cir. 1997)). The plaintiff has the

burden of pleading and ultimately establishing "the existence of a real nexus between

the defendant's conduct and the defendant's badge of state authority in order to


                                             -14-
    Case 1:06-cv-00738-WFD-LFG Document 89 Filed 02/12/08 Page 15 of 16




demonstrate action was taken under color of state law." Id. (Internal quotations

omitted.) The defendant's authority may be actual or apparent. David, 101 F.3d at

1353; Griffin v. State of Md., 378 U.S. 130, 135 (1964) ("If an individual is possessed of

state authority and purports to act under that authority, his action is state action.") But

the existence of a tort committed by a state employee does not warrant attributing all of

the employee's actions to the state. Jojola v. Chavez, 55 F.3d 488, 493 (10th Cir.

1995).

         Plaintiff argues that because Defendant admitted to performing authorized duties

of a magistrate judge on the night in question–explaining the court procedures–he was

acting under the color of law. Specifically, “she would not have paid any attention to a

man more than 20 years her senior in the bar that night. It is extremely unlikely that,

had he approached her that evening without his mantle of judicial authority, he would

have gotten any further than “hello.” (Memorandum in Support of Motion for Partial

Summary Judgment on the Issue of Acting Under Color of Law, Dkt. No. 78, at 6.)

Here, the Court finds that the facts alleged do not establish the nexus between

Defendant’s conduct and Defendant’s badge of authority to satisfy the standard for

summary judgment. Unquestionably, Defendant answered questions about magistrate

court posed by Plaintiff. But the record does not establish as a matter of law that

Defendant acted under color of law to commit the acts alleged. Further, the Court found

that Defendant’s actions fell outside the scope of duty. In that issue, as here, the record


                                            -15-
    Case 1:06-cv-00738-WFD-LFG Document 89 Filed 02/12/08 Page 16 of 16




fails to demonstrate a “real nexus” between Defendant’s actions and his badge of

authority. Plaintiff’s Motion for Partial Summary Judgment must be denied.

                                      Conclusion

      The Court finds that Defendant acted outside the scope of duty and therefore

GRANTS RMD’s Motion for Summary Judgment. Accordingly, Defendant’s Converted

Motion must fail. Finally, Plaintiff’s Motion for Partial Summary Judgement is denied.

      IT IS SO ORDERED.

      DATED this      11th day of February, 2008.




                                                   UNITED STATES DISTRICT JUDGE




                                          -16-
